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                              IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

      ACKERMAN MCQUEEN, INC.,                             §
                                                          §
                Plaintiff,                                §
                                                          §
      v.                                                  §
                                                          §
      GRANT STINCHFIELD,                                  §   CIVIL ACTION NO. 3:19-CV-03016-X
                                                          §
                Defendant.                                §




            APPENDIX IN SUPPORT OF DEFENDANT’S RESPONSE IN OPPOSITION
              TO PLAINTIFF’S MOTION FOR ENTRY OF PROTECTIVE ORDER


     Defendant Grant Stinchfield (“Stinchfield”) offerV the following evidence in support of

KLVresponse in opposition to Plaintiff’s motion for entry of protective order:

  EXHIBIT                                  DESCRIPTION                                 PAGE NO.

           A.      Plaintiff’s Response to Defendant’s Request for Production         APP. 001-021

           B.      Email re AMc objections to Stinchfield RFP-first meet and confer   APP. 022-023
                   notes

           C.      AMC’s Proposed Protective Order                                    APP. 024-047


           D.      Emails follow-up re meet and confer                                APP. 048-050

           E.      Judge Toliver’s order in N.D. Texas: NRA v AMc                     APP. 051-056

           F.      Competitor Identification and Competitor Analysis: A broad-based   APP.057-070
                   Managerial Approach

           G.      Brewer’s Website re Public Relations                               APP. 071-072

           H.      Andrew Arulanadam & Craig Spray Declarations                       APP. 073-083




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     I.      Travis Carter’s Declaration                                            APP. 084-098




          July 16, 2020                Respectfully submitted,


                                       BREWER, STOREFRONT, PLLC


                                By:    /s/ Ian Shaw
                                       Ian Shaw, Esq.
                                       State Bar No. 24117041
                                       ins@brewerattorneys.com
                                       1717 Main Street, Suite 5900
                                       Dallas, Texas 75201
                                       Telephone: (214) 653-4000
                                       Facsimile: (214) 653-1015

                                       ATTORNEYS FOR DEFENDANT
                                       GRANT STINCHFIELD



                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing document was electronically

served via the Court’s electronic case filing system upon all counsel of record on this 16th day of

July 2020.

                                               /s/ Ian Shaw
                                               Ian Shaw




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       EXHIBIT A




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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

ACKERMAN MCQUEEN, INC.                       §
                                             §
v.                                           §         Case No. 3:19-cv-03016-X
                                             §
GRANT STINCHFIELD                            §

                    PLAINTIFF’S RESPONSE TO DEFENDANT’S
                         REQUEST FOR PRODUCTION

TO:     Grant Stinchfield, by and through his attorneys of record, William A. Brewer III
        and Ian Shaw, Brewer, Attorneys & Counselors, 1717 Main Street, Suite 5900,
        Dallas, Texas 75201.

        Plaintiff, Ackerman McQueen, Inc. (“AMc”), serves its Response to Defendant’s

Request for Production.

               OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

        1.     AMc objects to Defendant’s request for the production of metadata because
it is out of proportion to the needs of this case.

       2.   AMc object to the instructions in paragraph 7 with respect to the manner in
which documents should be produced because it exceeds the scope and requirements of
the Federal Rules of Civil Procedure.

      3.    AMc objects to the definition of the term “document” to the extent it
exceeds the scope and requirements of the Federal Rules of Civil Procedure. In
responding to the discovery requests below, AMc will construe those terms to mean
“documents and electronically stored information” as defined in Federal Rule of Civil
Procedure 34(a)(1)(A).

       4.   AMc objects to the definitions of the terms “NRA” and “Defendant” to the
extent they purport to require AMc to ascertain who is or is not acting on their behalf or
pursuant to their directions. In responding to the requests below, AMc will construe


PLAINTIFF’S RESPONSE TO DEFENDANT’S
REQUEST FOR PRODUCTION – PAGE 1
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those terms to mean The National Rifle Association of America and Grant Stinchfield,
respectively.

       5.    AMc objects to the definition of the terms “You”, “Your,” and “Plaintiff”
because it necessarily causes the requests to call for the disclosure of information that is
protected by the attorney-client privilege and work product doctrine. In responding to
the discovery requests below, AMc will construe those terms to mean Ackerman
McQueen Inc.

      6.     AMc objects to the instruction regarding lost or destroyed documents
because it exceeds the scope and requirements of the Federal Rules of Civil Procedure.

                     SPECIFIC OBJECTIONS AND RESPONSES

REQUEST FOR PRODUCTION NO. 1: Documents regarding client complaints.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 2: Documents regarding client complaints from
former clients.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 3: Documents regarding employee complaints
between or among You and your employees.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 4: Documents regarding employee complaints
between or among You and your former employees.


PLAINTIFF’S RESPONSE TO DEFENDANT’S
REQUEST FOR PRODUCTION – PAGE 2
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RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 5: Documents regarding vendor complaints
between or among You and Your current vendors.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 6: Documents regarding vendor complaints
between or among You and Your former vendors.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 7: Any documents that refer or relate to the creation,
development, and launch of NRA TV.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 8: Documents between Mr. McQueen and AMc’s
board that refer to NRA TV’s viewership analytics.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 9: Documents referring or relating to NRATV
viewership, including but not limited to, documents concerning viewership numbers,
analytics, or data claiming to represent, correspond, or otherwise relate to “unique,”
PLAINTIFF’S RESPONSE TO DEFENDANT’S
REQUEST FOR PRODUCTION – PAGE 3
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“genuine, “complete,” “incomplete,” and “incidental,” “engaged,” or “total” views.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 10: Documents regarding the termination of Your
client relationship with Brunswick.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 11: Documents regarding the termination of Your
client relationship with Six Flags.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 12: Documents regarding the termination of Your
client relationship with Chesapeake Energy.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 13: Documents regarding the termination of Your
client relationship with Williams Energy.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.
PLAINTIFF’S RESPONSE TO DEFENDANT’S
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REQUEST FOR PRODUCTION NO. 14: Documents regarding the termination of Your
client relationship with LeapFrog.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO.15: Documents between You and Defendant.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 16: Documents that set forth billing entries,
statements, or invoices relating to Your employees that worked on NRA TV.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 17: Documents regarding NRA TV’s financials,
projections, estimates, forecasts, and/or predications concerning NRA TV in 2016.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information.

REQUEST FOR PRODUCTION NO. 18: Documents regarding NRA TV’s financials,
projections, estimates, forecasts, and/or predications concerning NRA TV in 2017.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information.


PLAINTIFF’S RESPONSE TO DEFENDANT’S
REQUEST FOR PRODUCTION – PAGE 5
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REQUEST FOR PRODUCTION NO. 19: Documents regarding NRA TV’s financials,
projections, estimates, forecasts, and/or predications concerning NRA TV in 2018.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information.

REQUEST FOR PRODUCTION NO. 20: Documents regarding NRA TV’s financials,
projections, estimates, forecasts, and/or predications concerning NRA TV in 2019.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information.

REQUEST FOR PRODUCTION NO. 21: Documents referring to or relating to the actual
measurement of unique views of NRA TV.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 22: Documents referring or relating to any
commercial sponsorships of NRA TV including but not limited to documents referring to
what You charged each sponsor and documents referring to Your profit from each
sponsorship.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information.

REQUEST FOR PRODUCTION NO. 23:                Documents that set forth Your financial
statements from 2016-2019.

RESPONSE: AMc objects to this request because it fails to specify the items to be
PLAINTIFF’S RESPONSE TO DEFENDANT’S
REQUEST FOR PRODUCTION – PAGE 6
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produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information.

REQUEST FOR PRODUCTION NO. 24: Documents that set forth or analyze the
viewership analytics of NRA TV, including but not limited to documents that refer to any
communications among or between the Defendant and Mr. McQueen concerning NRA
TV viewership analytics.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 25: Documents that set forth Your ideas, plans, and
developments that administered NRA TV’s content.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 26: Documents referring or relating to Your
employees’ time sheets concerning NRA TV and associated matters.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 27: Documents regarding or relating to any request
by the NRA for unique viewership data for NRA TV.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
PLAINTIFF’S RESPONSE TO DEFENDANT’S
REQUEST FOR PRODUCTION – PAGE 7
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viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 28: Documents regarding or relating to any request
by the NRA for completed viewership data for NRA TV.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 29: Documents regarding the board meetings You
held concerning NRA TV’s viewership analytics.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 30: Documents regarding the employee meetings
You held concerning NRA TV’s viewership analytics.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 31: Documents that support Your allegation in
paragraph 1 of the original complaint that Defendant’s statements were to hurt AMc’s
standing and improve the NRA’s standing.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity and seeks information that is protected by the
attorney-client privilege and work product doctrine. The content of the Stinchfield
affidavit, the fact that it was drafted by the NRA’s and LaPierre’s lawyers, and the fact
PLAINTIFF’S RESPONSE TO DEFENDANT’S
REQUEST FOR PRODUCTION – PAGE 8
                                                                            APPENDIX_9 of 98
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that it was disseminated directly to the media speaks volumes.

REQUEST FOR PRODUCTION NO. 32: Documents that support Your allegation in
paragraph 1 of the original complaint that Defendant’s statements caused You money
damages.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity and seeks information that is protected by the
attorney-client privilege and work product doctrine.

REQUEST FOR PRODUCTION NO. 33: Documents that support Your allegation in
paragraph 1 of the original complaint that this case is driven by the NRA and LaPierre’s
“sinister” and intentional efforts to destroy Your business.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity and seeks information that is protected by the
attorney-client privilege and work product doctrine. The content of the Stinchfield
affidavit, the fact that it was drafted by the NRA’s and LaPierre’s lawyers, and the fact
that it was disseminated directly to the media speaks volumes.

REQUEST FOR PRODUCTION NO. 34: Documents that support Your allegation in
paragraph 2 of the original complaint that Defendant has aligned himself with the NRA
and LaPierre.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity and seeks information that is protected by the
attorney-client privilege and work product doctrine. The content of the Stinchfield
affidavit, the fact that it was drafted by the NRA’s and LaPierre’s lawyers, and the fact
that it was disseminated directly to the media speaks volumes.

REQUEST FOR PRODUCTION NO. 35: Documents that support Your allegation in
paragraph 25 of the original complaint that Defendant’s statements concerning NRA TV’s
work environment were false.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity and seeks information that is protected by the
attorney-client privilege and work product doctrine.

REQUEST FOR PRODUCTION NO. 36: Documents regarding Chickasaw Nation’s audit
of Your billing practices including but not limited to the actual audit.
PLAINTIFF’S RESPONSE TO DEFENDANT’S
REQUEST FOR PRODUCTION – PAGE 9
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RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information.

REQUEST FOR PRODUCTION NO. 37: All documents regarding the meeting You held
with the NRA to discuss NRA TV viewership on October 24, 2017.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 38: All documents regarding the meeting You held
with the NRA to discuss NRA TV viewership on November 28, 2017.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 39: All documents regarding the meeting You held
with the NRA to discuss NRA TV viewership on January 3, 2018.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 40: All documents regarding the meeting You held
with the NRA to discuss NRA TV viewership on February 1, 2018.

RESPONSE: AMc objects to this request because it fails to specify the items to be
PLAINTIFF’S RESPONSE TO DEFENDANT’S
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produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 41: All documents regarding the meeting You held
with the NRA to discuss NRA TV viewership on February 19, 2018.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 42: All documents regarding the meeting You held
with the NRA to discuss NRA TV viewership on April 11, 2018.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 43: All documents regarding the meeting You held
with the NRA to discuss NRA TV viewership on September 4, 2018.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 44: All documents regarding the meeting You held
with the NRA to discuss NRA TV viewership on October 11, 2018.

RESPONSE: AMc objects to this request because it fails to specify the items to be
PLAINTIFF’S RESPONSE TO DEFENDANT’S
REQUEST FOR PRODUCTION – PAGE 11
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produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 45: All documents regarding the meeting You held
with the NRA to discuss NRA TV viewership on October 23, 2018.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 46: All documents regarding the meeting You held
with the NRA to discuss NRA TV viewership on October 30, 2018.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 47: All documents regarding the meeting You held
with the NRA to discuss NRA TV viewership on November 28, 2018.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 48: All documents regarding the meeting You held
with the NRA to discuss NRA TV viewership on December 5, 2018.

RESPONSE: AMc objects to this request because it fails to specify the items to be
PLAINTIFF’S RESPONSE TO DEFENDANT’S
REQUEST FOR PRODUCTION – PAGE 12
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produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 49: All documents regarding the meeting You held
with the NRA to discuss NRA TV viewership on January 18, 2019.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 50: Documents that support your allegation in
paragraph 19 of the original complaint regarding Defendant’s attempt to align with the
NRA to form a “smear campaign” against You.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity and seeks information that is protected by the
attorney-client privilege and work product doctrine. The content of the Stinchfield
affidavit, the fact that it was drafted by the NRA’s and LaPierre’s lawyers, and the fact
that it was disseminated directly to the media speaks volumes.

REQUEST FOR PRODUCTION NO. 51: Documents that set forth the charges, costs and
profits of NRA TV’s live streaming.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information.

REQUEST FOR PRODUCTION NO. 52: Documents that support Your allegation in
paragraph 29 of the original complaint that live programming was the quickest way to
get messaging out after a tragedy.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity.
PLAINTIFF’S RESPONSE TO DEFENDANT’S
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REQUEST FOR PRODUCTION NO. 53: Documents that support Your allegation in
paragraph 29 of the original complaint that the analytics presented to the NRA showed
that NRA TV became the go to source for information after the Parkland school shooting.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity. Upon entry of a suitable protective order, AMc
will produce copies of the video analytics and viewership statistics provided to the NRA
from time to time.

REQUEST FOR PRODUCTION NO. 54: Documents that support Your allegation in
paragraph 30 of original complaint that You expanded the footprint of NRA TV at the
NRA’s and LaPierre’s express direction.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity.

REQUEST FOR PRODUCTION NO. 55: Documents that support Your allegation that
You had “concerns” with NRA’s direction under LaPierre beginning in 2018.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity.

REQUEST FOR PRODUCTION NO. 56: Documents that support Your allegation in
paragraph 23 of the original complaint that Josh Powell was trying to get You to promote
the insurance portion of Carry Guard but referred to Carry Guard as an “insurance
scheme.”

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity.

REQUEST FOR PRODUCTION NO. 57: Documents that support Your allegation in
paragraph 32 of the original complaint that You have always been an enthusiastic
proponent of Carry Guard’s training program.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity.

REQUEST FOR PRODUCTION NO. 58: Documents that support Your allegation in
paragraph 34 of the original complaint that the NRA and LaPierre showed no intention
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to execute School Shield’s mission.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity.

REQUEST FOR PRODUCTION NO. 59: Documents that support Your allegation in
paragraph 32 of the original complaint that LaPierre systemically disassembled Carry
Guard.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity.

REQUEST FOR PRODUCTION NO. 60: Documents that support Your allegation in
paragraph 34 of the original complaint that You expressed reservations about NRA’s
approach to School Shield.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity.

REQUEST FOR PRODUCTION NO. 61: Documents that support Your allegation in
paragraph 35 of the original complaint that Defendant’s affidavit was maliciously
written.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity. However, the content of the Stinchfield affidavit,
the fact that it was drafted by the NRA’s and LaPierre’s lawyers, and the fact that it was
disseminated directly to the media speaks volumes.

REQUEST FOR PRODUCTION NO. 62: Documents that support Your allegation in
paragraph 37 of the original complaint that Defendant’s affidavit was used in the media
to “deflect attention” from LaPierre’s and the NRA’s other pending litigation.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity. However, the content of the Stinchfield affidavit,
the fact that it was drafted by the NRA’s and LaPierre’s lawyers, and the fact that it was
disseminated directly to the media speaks volumes.

REQUEST FOR PRODUCTION NO. 63: Documents that support Your allegation in
paragraph 38 of the original complaint that since the NRA has hired Brewer, LaPierre set
out to intentionally destroy the relations between You and the NRA.
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RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for information that is irrelevant, and is not
reasonably calculated to lead to the discovery of admissible evidence. However, the
content of the Stinchfield affidavit, the fact that it was drafted by the NRA’s and
LaPierre’s lawyers, and the fact that it was disseminated directly to the media speaks
volumes.

REQUEST FOR PRODUCTION NO. 64: Documents that support Your allegation in
paragraph 39 of the original complaint that Brewer is in competition with you as
competing PR firms.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for information that is irrelevant, and is not
reasonably calculated to lead to the discovery of admissible evidence. However, the
content of the Stinchfield affidavit, coupled with the fact that it was authored by the
Brewer firm and disseminated directly to the media, speaks volumes.

REQUEST FOR PRODUCTION NO. 65: All documents that set forth the contracts
relating to the hiring of the “high profile” talent at NRA TV.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic information involving third parties.

REQUEST FOR PRODUCTION NO. 66: Documents that relate to Your allegation in
paragraph 20 of the original complaint that Defendant’s affidavit was falsely written and
was sent straight to the media in order to further defame AMc.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity. AMc has, however, requested copies of
communications between Defendant and his attorneys, on the one hand, and members
of the media, on the other hand, which Stinchfield has refused to produce.

REQUEST FOR PRODUCTION NO. 67: Documents that relate to Your allegation in
paragraph 22 of the original complaint that the analytics are not only legitimate, but they
were impressive across all of the same platforms that media companies everywhere use
to judge success in engagement and reach.


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RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time

REQUEST FOR PRODUCTION NO. 68: All documents relating to your allegations in
footnote 1 of the original complaint that LaPierre believed Defendant to be a loose cannon
who could not be trusted to do unscripted media appearances.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity.

REQUEST FOR PRODUCTION NO. 69: All documents regarding payments You made
to vendors that were fully reimbursed by the NRA.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 70: All documents referring or relating to any
valuation of NRATV, the NRATV brand, or the valuations of parts of NRATV (e.g.,
NRATV TV shows) or NRATV brand, including but not limited to, any analyses
regarding the same.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 71: All documents that reflect unsuccessful client
proposals.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.


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REQUEST FOR PRODUCTION NO. 72: All documents concerning the performance,
significance, and/or importance of the live broadcasting portion of NRATV.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information. Upon entry of
a suitable protective order, AMc will produce copies of the video analytics and
viewership statistics provided to the NRA from time to time.

REQUEST FOR PRODUCTION NO. 73: All documents referring or relating to any
sponsorships of NRATV.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, is not reasonably calculated to lead to the discovery of admissible evidence,
and calls for the production of sensitive, nonpublic business information.

REQUEST FOR PRODUCTION NO. 74: All Documents that relate to Youth for
Tomorrow including but not limited to any donations, billings, invoices, and contracts
between You and Youth for Tomorrow.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.

REQUEST FOR PRODUCTION NO. 75: All Documents regarding Your charitable and
philanthropic giving.

RESPONSE: AMc objects to this request because it fails to specify the items to be
produced with reasonable particularity, calls for the production or irrelevant
information, and is not reasonably calculated to lead to the discovery of admissible
evidence.




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        Dated: March 12, 2020.

                                      Respectfully submitted,

                                      /s/ Brian Vanderwoude
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                              CERTIFICATE OF SERVICE

        I hereby certify that on March 12, 2020, I served a true and correct copy of the

foregoing upon the following counsel of record:

        William A. Brewer III
        Ian Shaw
        BREWER, ATTORNEYS & COUNSELORS
        1717 Main Street, Suite 5900
        Dallas, Texas 75201

                                         /s/ Brian Vanderwoude
                                         J. Brian Vanderwoude




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       EXHIBIT %




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From:            Ian Shaw
To:              vanderwoude.brian@dorsey.com; mason.brian@dorsey.com
Cc:              William Brewer; Victoria Lee
Subject:         Meet and Confer Follow-Up Notes re AMc"s RFP objections
Date:            Wednesday, March 25, 2020 12:17:47 PM


Counsel,

Thank you for the call. Below are some of the things that were agreed upon and discussed on our
call today. I am sure we will meet and confer about these again soon.

AMc’ Counsel agrees to:
      Draft and send a proposed protective order to Stinchfield’s counsel on April 1, 2020. The
      protective order will encompass Request Nos. 9, 21, 24,27-30, 37-49, 53, and 67. (After
      reviewing the proposed PO another meet and confer will occur.)
      Requests Nos. 52, 54-64,66 re allegations in complaint Counsel will circle back to and discuss
      with client.
      Request Nos. 7-8, 17-20, 23, and 51 Counsel agreed to circle back to and ask the client about.
      Request Nos. 31-35, 50 Counsel stands strong on their privldlge stance but agreed to produce
      any non-privilege documents that are responsive to these requests. A priviledge log will need
      to be created for those docs that are being withheld as attorney-client privilege.
      Will check on sponsorship requests and any requests that were produced in other matters.

Stinchfield’s Counsel agrees to:
       Request Nos 1-6, 10-14, 71, 74-75, Counsel stands firmly that a reputation is created over a
       span of time and documents responsive to that span of time are highly relevant. Counsel
       believes that this span can go back several years. AMc’s counsel believes that it is too board
       and would like to have a more narrow time frame (20 years is too much) and a subject matter,
       which they can find responsive documents to produce relating to these requests. Also AMc
       counsel would like for Stinchfield to define “client complaints.” Stinchfeild’s counsel will
       follow up with AMc after consulting with his client.
       Request No 25, counsel will circle back to possibly narrow.
       Will check for documents concerning media outlets. To be clear again: Stinchfiled is not
       refusing to produce documents responsive to AMc’s requests. Documents are being withheld
       under the protection of the work doctrine. If Counsel finds documents that are non-
       priviledged and not protected under the work product doctrine, counsel will produce those
       responsive documents if they exist.

Thanks
Ian

Sent from Mail for Windows 10




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       EXHIBIT &




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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

ACKERMAN MCQUEEN, INC.                        §
                                              §
v.                                            §         Case No. 3:19-cv-03016-X
                                              §
GRANT STINCHFIELD                             §

                            AGREED PROTECTIVE ORDER

1.     PURPOSES AND SCOPE

       1.1    Disclosure and discovery activity in this Action are likely to involve

production of confidential, proprietary, or private information for which special

protection from public disclosure and from use for any purpose other than prosecuting

this Action (as defined below) may be warranted. Accordingly, the Parties hereby

stipulate to and petition the Court to enter the following Stipulated Protective Order (the

“Order”).

       1.2    The purpose of this Order is to facilitate the production of discovery

material, facilitate the prompt resolution of disputes over confidentiality and privilege,

protect material to be kept confidential and/or privileged, and ensure that protection is

afforded only to material entitled to such treatment, pursuant to the Court’s inherent

authority, its authority under the applicable Rules, the judicial opinions interpreting such

Rules, and any other applicable law. Except as otherwise stated in this Order, a Party

shall produce, in response to a valid discovery request, otherwise discoverable




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information in its possession, custody or control that is Confidential or Highly

Confidential, and such information shall be handled in accordance with the procedures

set forth herein.

       1.3    This Order and all subsequent Protective Orders shall be binding on all

Parties and their counsel in the above-captioned litigation and any other persons or

entities who become bound by this Order.

       1.4    The Parties acknowledge that this Order does not confer blanket

protections on all disclosures or responses to discovery and that the protection it affords

from public disclosure and use extends only to the limited information or items that are

entitled to confidential treatment under the applicable legal principles. The Parties

further acknowledge, as set forth in Section 12.3 below, that this Order does not entitle

them to file confidential information under seal.

2.     DEFINITIONS

       The following definitions apply for purposes of this Order:

       2.1    Action: The lawsuit captioned above, Ackerman McQueen, Inc. v. Grant

Stinchfield, Civil Action No. 3:19-cv-03016-X, pending in the United States District Court

for the Northern District of Texas.

       2.2    Challenging Party: A Party or Non-Party that challenges the designation of

information or items under this Order.




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      2.3     Confidential Information:    Discovery Material (regardless of how it is

generated, stored, or maintained) or tangible things that qualify for protection under the

Federal Rules of Civil Procedure and applicable precedent.

      2.4     Counsel:   Outside Counsel of Record, In-House Counsel, or counsel

retained for the purpose of advising, prosecuting, defending, or attempting to settle this

Action.

      2.5     Designating Party:   A Party or Non-Party that designates documents,

information or items that it produces in disclosures or in responses to discovery as

“CONFIDENTIAL” or “PRIVILEGED” or “HIGHLY CONFIDENTIAL.”

      2.6     Discovery Material: All items or information, regardless of the medium or

manner in which it is generated, stored, or maintained (including, among other things,

testimony, transcripts, answers to interrogatories, documents, responses to requests for

admissions, tangible things, and informal exchanges of information), that are produced

or generated in connection with any discovery in this Action, whether formally or

informally.

      2.7     Expert: A person retained by a Party or its Counsel to serve as an expert

witness or consultant or technical advisor in this Action (as well as his or her employees

and support staff).

      2.8     Highly Confidential Information:      Discovery Material that meets the

definition of “Confidential Information” and which the Designating Party reasonably


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believes to be information reflecting non-public technical research, pricing and business

strategy documents concerning a particular product or service, financial statements

reflecting sales data, margin data, cost and expense data, human resources or personnel

files, and/or profit and loss data, sales information relating to specific customers or classes

of customers, non-public research, provided that the nonpublic information is actually

secret because it is neither known to, nor readily ascertainable by, another person or

entity that can obtain economic value from the disclosure or use of such information, the

Designating Party has taken reasonable measures to maintain the secrecy of that

information and the Designating Party derives independent economic value and a

competitive advantage from the secrecy of that information, including, as the case may

be, containing information where production of the materials on a confidential or non-

confidential basis would nonetheless likely cause substantial harm. Nothing herein

precludes any Party from seeking additional protections not currently contemplated by

this Order to be applied to any particular document or category of documents, including

Highly Confidential Information.

       2.9    In-House Counsel: Attorneys who are employees of a Party to this Action.

In House Counsel does not include Outside Counsel of Record or any other outside

counsel.

       2.10   Non-Party: Any natural person, partnership, corporation, association, or

other legal entity not named as a Party to this Action, and their counsel.


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         2.11   Outside Counsel of Record: Attorneys who are not employees of a Party to

this Action, but have been retained to represent or advise a Party to this Action and have

appeared in this Action on behalf of that Party or are affiliated with a law firm that has

appeared on behalf of that Party.

         2.12   Party: Any party to this Action.

         2.13   Privileged Material: Discovery Material protected from disclosure under

the attorney-client privilege, work product doctrine, or any other privilege, immunity, or

protection afforded or recognized by the Rules, including any such privilege or protection

under applicable U.S. or foreign law, regulation or statute.

         2.14   Producing Party: A Party or Non-Party that produces Discovery Material

in this Action.

         2.15   Professional Vendors: Persons or entities that provide litigation support

services (e.g., photocopying, videotaping, graphic support services, coding, translating,

preparing exhibits or demonstrations, document review, and organizing, storing, or

retrieving data in any form or medium) and their employees and subcontractors.

         2.16   Protected Material:    Any Discovery Material that is designated as

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.”

         2.17   Receiving Party: A Party that receives Discovery Material from a Producing

Party.




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      2.18   Virginia Action: The consolidated lawsuits captioned National Rifle

Association of America v. Ackerman McQueen, Inc., et al., Case Nos. CL19002067,

CL19001757, and CL19002886, pending before the Circuit Court for the City of

Alexandria, Virginia.

3.    SCOPE

      3.1    The protections conferred by this Order apply to Protected Material (as

defined above) and also (1) any information copied or extracted from Protected Material;

(2) all copies, excerpts, summaries, translations, or compilations of Protected Material;

and (3) any oral, written, or electronic communications, testimony or presentations,

including for purposes of settlement, by Parties or their Counsel that might reveal

Protected Material. However, the protections conferred by this Order do not cover

information that is in the public domain at the time of disclosure to a Receiving Party or

becomes part of the public domain after its disclosure to a Receiving Party as a result of

publication not involving a violation of this Order.

      3.2    This Order and its protections apply for pre-trial purposes only. The Parties

will meet and confer at the appropriate time regarding any use of Protected Material at

trial, which use shall be governed by a separate agreement or order.

4.    DURATION

      4.1    Even after final disposition of this Action, the confidentiality obligations

imposed by this Order shall remain in effect until a Designating Party agrees otherwise


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in writing or a court order otherwise directs. Final disposition shall be deemed to be the

later of (1) dismissal of all claims and defenses in this action, with or without prejudice;

or (2) final judgment herein after the completion and exhaustion of all appeals,

rehearings, remands, trials, or reviews of this action, including the time limits for filing

any motions or applications for extension of time pursuant to applicable law.

5.     DESIGNATING PROTECTED MATERIAL

       5.1    Manner and Timing of Designations. Except as otherwise provided in this

Order (see, e.g., Section 5.2.4 below), or as otherwise stipulated or ordered, Discovery

Material that qualifies for protection under this Order must be clearly so designated at

the time the material is disclosed or produced. The Parties shall make Confidential and

Highly Confidential designations in good faith to ensure that only those documents or

testimony that merit Confidential or Highly Confidential treatment are so designated.

Either designation may be withdrawn by the Designating Party.             If it comes to a

Designating Party’s attention that information or items that it designated for protection

do not qualify for protection, the Designating Party must promptly notify all other Parties

that it is withdrawing the mistaken designation.




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       5.2     Designation in conformity with this Order requires the following:

               5.2.1    Marking. All or any part of a document, discovery response, or

pleading disclosed, produced, or filed by a Producing Party may be designated

Confidential    or     Highly     Confidential       by   marking   the   appropriate   legend

(“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL”) on the face of the document and

each page so designated. With respect to tangible items, the appropriate legend shall be

marked on the face of the tangible item, if practicable, or by written notice to the

Receiving Party at the time of disclosure, production, or filing that such tangible item is

Confidential or Highly Confidential or contains such information. With respect to

documents produced in native format, the Electronically Stored Information Protocol, or

ESI Protocol, to be entered in this Action shall govern the form and method for marking

such documents as Confidential or Highly Confidential.

               5.2.2    A Receiving Party shall exercise good faith efforts to ensure that

any copies, print-outs of natively produced documents or data, excerpts, summaries, or

compilations include a confidentiality legend that matches the confidentiality

designation the Designating Party applied to the document, discovery response,

transcript, or pleading.

               5.2.3    Timing.    Except as otherwise provided herein, documents and

other objects must be designated before disclosure or production. In the event that a

Producing Party designates some or all of a witness’s deposition or other pre-trial


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testimony (or related exhibits) Confidential or Highly Confidential, such designation

may be made on the record of the deposition or hearing or within thirty (30) calendar

days after receipt of the final transcript of such deposition or hearing. The specific page

and line designations over which confidentiality is claimed must be provided to counsel

for the Parties within thirty (30) calendar days of receipt of the transcript in final form

from the court reporter except counsel may agree to extend such period. Deposition or

pre-trial testimony shall be treated as Highly Confidential pending the deadline or, if

applicable, extended deadline for designation. After the expiration of that period, the

transcript shall be treated only as actually designated.

              5.2.4     For information produced in some form other than documentary

and for any other tangible items, the Producing Party shall affix in a prominent place on

the exterior of the container or containers in which the information or item is stored the

legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.” If the Protected Material is

produced in an electronic form with a load file, the Designating Party shall note that there

is Protected Material in the load file. If only a portion or portions of the information or

item warrant protection, the Producing Party, to the extent practicable, shall identify the

protected portion(s).

              5.2.5     Inadvertent Failures to Designate.     Accidental or inadvertent

disclosure of Protected Material—including Protected Material inadvertently disclosed

by failure to redact as set forth in Section 11—does not waive the confidential status of


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such information or any privilege or other protection attached thereto. In the event that

Protected Material is inadvertently disclosed without appropriate designations, any

Party or Non-Party may thereafter reasonably assert a claim or designation of

confidentiality, and the Producing Party shall promptly provide replacement media.

Thereafter, the Receiving Party must promptly return the original information and all

copies of the same to the Producing Party, or destroy the original information and all

copies, and make no use of such information. In the event that Protected Material is

inadvertently disclosed to any person and such disclosure is not permitted by the terms

of this Order, the Party making the inadvertent disclosure shall promptly notify the

Producing Party of such inadvertent disclosure within ten (10) calendar days of learning

of it and will make all reasonable efforts to ensure the original and all copies of

inadvertently disclosed information are not used and are promptly returned or

destroyed.

6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS

      6.1    Timing of Challenges. A challenge to a designation of confidentiality may

be made at any time. Unless a prompt challenge to a Designating Party’s confidentiality

designation is necessary to avoid foreseeable, substantial unfairness, unnecessary

economic burdens, or a significant disruption or delay of the litigation, a Party does not

waive its right to challenge a confidentiality designation by electing not to mount it a

challenge promptly after the confidentiality designation is made.


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       6.2    Form of Challenge. The Challenging Party shall object to the propriety of

the designation of specific material as Confidential or Highly Confidential by providing

written notice to the Designating Party of each designation it is challenging and

describing the basis for each challenge. To avoid ambiguity as to whether a challenge has

been made, the written notice must recite that the challenge to confidentiality is being

made in accordance with this specific Section of this Order. The Designating Party or its

counsel shall thereafter, within fourteen (14) calendar days, respond to such challenge in

writing by either: (i) agreeing to remove the designation; or (ii) stating the reasons for

such designation. Counsel may agree to reasonable extensions.

       6.3    Meet and Confer.      If the Challenging Party continues to dispute the

designation(s) at issue, it shall notify the Designating Party in writing within seven (7)

calendar days thereafter. Counsel may agree to reasonable extensions. The Parties shall

attempt to resolve each challenge in good faith by conferring directly (in voice-to-voice

dialogue; other forms of communication are not sufficient). A Challenging Party may

proceed to the next stage of the challenge process only if it has engaged in this meet-and

confer process first or establishes that the Designating Party is unwilling to participate in

the meet-and-confer process in a timely manner.

       6.4    Judicial Intervention. If the Parties cannot resolve a challenge without court

intervention, the Challenging Party may move the Court for an order withdrawing the

designation as to the specific designations on which the Challenging Party and the


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Designating. Party could not agree, within fourteen (14) calendar days of the Parties

agreeing that the meet-and-confer process will not resolve their dispute. Each such

motion must be accompanied by a competent declaration affirming that the movant has

complied with the meet-and-confer requirements imposed in the preceding Section.

      6.5       The burden of persuasion in any such challenge proceeding shall be on the

Designating Party. While a challenge is pending, all Parties shall continue to afford the

material in question the level of protection to which it is entitled under the Designating

Party’s designation until the Court orders otherwise.

      6.6       If a Designating Party or the Court identifies or determines that material

that had been designated as Protected Material should no longer be so designated, that

material will no longer be subject to the restrictions designated herein for the treatment

of Protected.

7.    ACCESS TO AND USE OF PROTECTED MATERIAL

      7.1       Basic Principles. A Receiving Party may use Protected Material that is

disclosed or produced by another Party or by a Non-Party in this Action only for

prosecuting, defending, or attempting to settle this Action, including any appeal(s), so

long as such use is permitted herein. In addition, the parties may use in the Virginia

Action any Protected Material that is disclosed or produced in this Action, which shall

receive the same protections as set forth in this Order absent a court order otherwise.

Subject to the foregoing, Protected Material may be disclosed only to the categories of


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persons and under the conditions described in this Order. After the final disposition of

the Action, a Receiving Party must comply with the provisions of Section 13 below

(FINAL DISPOSITION).        Protected Material must be stored and maintained by a

Receiving Party at a location and in a secure manner that ensures that access is limited to

the persons authorized under this Order.

              7.1.1   Except as otherwise provided in this Order, Counsel in this Action

and any of their agents shall be prohibited from sharing with anybody any Protected

Material, or any information derived from or based on any Protected Material, in

connection with any investigation, proceeding, or contemplated proceeding.

       7.2    Restrictions on Use of Confidential Information. Unless otherwise ordered

by the Court, permitted in writing by the Designating Party, or used in the Virginia

Action, a Receiving Party may disclose any information or item designated

“CONFIDENTIAL” only to:

              7.2.1   the Receiving Party’s Counsel (including their employees and

support staff);

              7.2.2   the officers, directors, and employees of the Receiving Party to

whom disclosure is reasonably necessary for this Action;

              7.2.3   experts retained by the Receiving Party or the Receiving Party’s

Counsel to whom disclosure is reasonably necessary for this Action;




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               7.2.4     the Court and its personnel, and any appellate court or other court

(and their personnel) before which the Parties appear in this Action;

               7.2.5     special masters or discovery referees appointed by the Court;

               7.2.6     mediators and their staff;

               7.2.7     court reporters and their staff, professional jury or trial consultants,

mock jurors, and Professional Vendors to whom disclosure is reasonably necessary for

this Action;

               7.2.8     potential or actual witnesses in the Action to whom disclosure is

reasonably necessary, unless otherwise agreed by the Designating Party or ordered by

the Court;

               7.2.9     the author or recipient of a document containing the information

or a custodian or other person who otherwise possessed or knew the information; and

               7.2.10    any other person to whom the Designating Party, in writing,

authorizes disclosure.

               7.2.11    Any person or entity who receives information designated

CONFIDENTIAL pursuant to this Protective Order shall (1) agree to be bound by the

terms of this Protective Order and (2) execute the document attached hereto as Exhibit

“l.”

       7.3 Restrictions on Use of Highly Confidential Information.




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         Unless otherwise   provided for     herein, information designated Highly

Confidential by either party shall not be disclosed. However, notwithstanding the above,

information designated in good faith as “HIGHLY CONFIDENTIAL” may be disclosed

to counsel of record for AMc and Stinchfield and each of their respective employees or

representatives who (1) agree to be bound by the terms of this Protective Order and (2)

execute the document attached hereto as Exhibit “1”; provided, however, that such any

representative shall not discuss, disclose, summarize, describe, characterize, or otherwise

communicate or make available such information to any person or entity prohibited by

this Protective Order from accessing HIGHLY CONFIDENTIAL information and/or

documents.     Similarly, information designated HIGHLY CONFIDENTIAL may be

shared with experts and Court personnel, provided that the disclosing party obtains

written assurance that such experts will protect the confidentiality of the information and

that the Court personnel will keep such information under seal.

         Notwithstanding anything herein to the contrary, HIGHLY CONFIDENTIAL

information may not be disclosed or disseminated to William A. Brewer, III or to

personnel within Brewer, Attorneys and Counselors who are members of the Public

Relations Unit of the firm, including Travis Carter, Andrea Burnett, Katherine Unmuth,

Holly Heidemanns, and Lea Gamino-Blum, unless and until relief is obtained from the

Court.




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8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
      OTHER LITIGATION

         8.1   If a Party is served with a subpoena or a court order issued in other

litigation that compels disclosure of any Protected Material, that Party must:

               8.1.1   promptly notify in writing the Designating Party unless prohibited

by law from doing so. Such notification shall include a copy of the subpoena or court

order;

               8.1.2   promptly notify in writing the party who caused the subpoena or

order to issue in the other litigation that some or all of the material covered by the

subpoena or order is subject to this Order. Such notification shall include a copy of this

Order; and

               8.1.3   cooperate with respect to all reasonable procedures sought to be

pursued by the Designating Party whose Protected Material may be affected.

         8.2   If the Designating Party timely seeks a protective order, the Party served

with the subpoena or court order shall not produce any Protected Material before a

determination by the court from which the subpoena or order issued, unless the Party

has obtained the Designating Party’s permission. The Designating Party shall bear the

burden and expense of seeking protection of its Protected Material, and nothing in these

provisions should be construed as authorizing or encouraging a Receiving Party in this

Action to disobey a lawful directive from another court.



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9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN
      THIS ACTION


      9.1      The terms of this Order are applicable to Protected Material produced by a

Non-Party in this Action. Such information produced by Non-Parties in connection with

this Action is protected by the remedies and relief provided by this Order. Nothing in

these provisions should be construed as prohibiting a Non-Party from seeking additional

protections.

10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

      10.1     If a Receiving Party learns that, by inadvertence or otherwise, it has

disclosed Protected Material to any person or in any circumstance not authorized under

this Order, the Receiving Party must immediately (a) notify in writing the Designating

Party of the unauthorized disclosures; (b) inform the person or persons to whom

unauthorized disclosures were made of all the terms of this Order; and (c) make all

reasonable efforts to retrieve all unauthorized copies of the Protected Material.

11.   REDACTIONS ALLOWED

      11.1     Any Producing Party may redact from Discovery Material matter that the

Producing Party claims is Privileged Material. The Producing Party shall ensure that the

redaction is obvious to the Receiving Party and specify the basis for the redaction as

appropriate. Where a document consists of more than one page, at least each page on

which information has been redacted shall be so marked. If counsel for the Producing



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Party agrees or if the Court orders that Discovery Material initially redacted shall not be

subject to redaction or shall receive alternative treatment, and the Discovery Material is

subsequently produced in unredacted form, then that unredacted Discovery Material

shall continue to receive the protections and treatment afforded to documents bearing

the confidentiality designation assigned to it by the Producing Party.

       11.2     The right to challenge and process for challenging the designation of

redactions shall be the same as the right to challenge and process for challenging the

designation of Confidential Information and Highly Confidential Information as set forth

in Section 6.

       11.3     Nothing herein precludes any Party from seeking the other Parties’ consent

or an order allowing the Party to redact nonresponsive matter from otherwise responsive

documents on a case-by-case basis.

12.    MISCELLANEOUS

       12.1     Right to Further Relief. Nothing in this Order abridges the right of any person to seek its

modification by the Court in the future. Any Party, entity, or person covered by this

Order may at any time apply to the Court for relief from any provision of this Order.

Subject to the agreement of the Parties or an order of the Court, other entities or persons

may be included in this Order by acceding to its provisions in a writing served upon

counsel for the Parties, with such writings to be filed with the Court if so directed.




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       12.2    Right to Assert Other Objections. By stipulating to the entry of this Order,

no Party waives any right it otherwise would have to object to disclosing or producing

any information or item on any ground not addressed in this Order. Similarly, no Party

waives any right to object on any ground to use as evidence any of the material covered

by this Order.

       12.3    Filing Protected Material.        Without written permission from the

Designating Party or a court order secured after appropriate notice to all interested

persons, a Party may not file in the public record in this Action any Protected Material.

A Party that seeks to file under seal any Protected Material must do so pursuant to the

local rules.

       12.4    Hearings and Appeals

               13.4.1 In the event that a Receiving Party intends to utilize Protected

Material during a pre-trial hearing, such Receiving Party shall provide written notice no

less than three (3) calendar days prior to the hearing, to the Producing Party and/or the

Designating Party, except that shorter notice may be provided if the Receiving Party

could not reasonably anticipate the need to use the document at the hearing three (3)

calendar days in advance, in which event notice shall be given immediately upon

identification of that need. The use of such Protected Material during the pre-trial

hearing shall be determined by agreement of the relevant Parties or by Order of the Court.




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             13.4.2 In the event that any Protected Material is used in any court

proceeding in this Action or any appeal in connection with this Action, except for the use

of Protected Material during trial, the manner of which shall be determined pursuant to

Section 3.2, such Protected Material shall not lose its protected status through such use.

Counsel shall comply with all applicable local rules and shall confer on such procedures

that are necessary to protect the confidentiality of any documents, information, and

transcripts used in the course of any court proceedings, including petitioning the Court

to close the courtroom.

      12.5   Reservations. Entering into, agreeing to or complying with the provisions

of this Order shall not: (1) operate as admission that any particular material contains

Protected Material; or (2) prejudice any right to seek a determination by the Court (a)

whether particular material should be produced, or (b) if produced, whether such

material should be subject to the provisions of this Order.

13.   FINAL DISPOSITION

      13.1   Within ninety (90) calendar days after the final disposition of this Action,

as defined in Section 4, each Receiving Party, including its employees, attorneys,

consultants, and experts, must use commercially reasonable efforts to destroy or return

to the Producing Party all Protected Material, exception (1) backup tapes or other disaster

recovery systems that are routinely deleted or written over in accordance with an

established routine system maintenance practice, or (2) documents that must be

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preserved as federal records or in compliance with other statutory, regulatory or legal

authorities. As used in this Section, “all Protected Material” includes all originals, copies,

abstracts, compilations, summaries, and any other format reproducing or capturing any

of the Protected Material. Whether the Protected Material is returned or destroyed, upon

request of the Producing Party, the Receiving Party must submit a written certification to

the Producing Party (and, if not the same person or entity, to the Designating Party) by

the 90-day deadline that (1) states that commercially reasonable efforts have been made

to assure that all Protected Material has been returned or destroyed, and (2) affirms that

the Receiving Party has not retained any originals, copies, abstracts, compilations,

summaries, or any other format reproducing or capturing any of the Protected Material.

Notwithstanding this provisions, Counsel are entitled to retain an archival copy of all

pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,

correspondence, deposition and trial exhibits, expert reports, attorney work product

(including all emails attaching or referring to Protected Materials), and consultant and

expert work product, even if such materials contain Protected Material. Any such

archival copies that contain or constituted Protected Material remain subject to this Order

as set forth in Section 4 (DURATION).




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IT SO ORDERED.


DATED: ___________________________        ____________________________________
                                          Hon. Brantley Starr
                                          United States District Judge




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                                  EXHIBIT 1 TO PROTECTIVE ORDER

                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

ACKERMAN MCQUEEN, INC.                           §
                                                 §
v.                                               §        Case No. 3:19-cv-03016-X
                                                 §
GRANT STINCHFIELD                                §

                           ACKNOWLEDGEMENT OF AND
                    AGREEMENT TO BE BOUND BY PROTECTIVE ORDER

         I, the undersigned, state that I have reviewed the Protective Order in this matter

and hereby agree to be bound by and comply with the terms of the Protective Order. I

submit to the jurisdiction of this Court for enforcement of the Protective Order.

         SIGNED on this _____ day of _______________ 202___.




                                              Signature



                                              Typed or Printed Name




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       EXHIBIT '




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From:              Ian Shaw
To:                vanderwoude.brian@dorsey.com
Subject:           Meet and confer notes
Date:              Monday, June 22, 2020 10:35:13 AM
Attachments:       image001.png


Brian,

Thanks for the call today. AMc will produce documents July 6, 2020. Below are what we agreed on re
production.

         #15: AMc will produce documents concerning emails to, from and, cc per Stinchfield’s work
         email address: grant@nratv.com
         #16: Billing entries, statements and invoices relating to your employees that worked on NRA
         TV. AMc will check with client about.
         #52: AMc will produce emails between NRA and AMc re live viewership and any internal
         communications re Live viewership.
         #54: AMc will produce emails and correspondences between NRA and AMc re NRA TV’s
         progress and the NRA’s footprint.
         #55: AMc will produce emails and correspondences between AMc and NRA (and internally at
         AMc) re WLP’s leadership from 2016-2019.
         #56, 57, 59: AMc will produce emails between AMc and Powell and AMc and the NRA re Carry
         guard and any internal communications re carry guard; emails between Stinchfield and Amc
         (may overlap with #15)
         #58-60: AMc will produce emails and correspondences between NRA and AMc re school
         shield and any internal communications re School shield; emails between Stinchfield and AMc
         (may overlap with #15)
         #64: AMc will produce emails or any type of documents that shows Brewer and AMc are in
         competition.
         #68: AMc will produce emails between AMc and NRA re Stinchfield being a loose cannon;
         emails internally among AMc re Stinchfield being a loose cannon; emails between AMc and
         WLP re Stinchfield.
         Billing: AMc will produce any correspondences between former clients, current clients, former
         vendors, or current vendors re complaints concerning billing.
         Stinchfield will produce documents regarding media inquiries concerning Stinchfield’s
         affidavit.


As stated before we object to the proposed protective order and we will most likely move against
the protective order.


Thanks
Ian

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ins@brewerattorneys.com | www.brewerattorneys.com




This communication (including any attachments) is intended for the sole use of the intended
recipient, and may contain material that is confidential, privileged, attorney work product, and/or
subject to privacy laws. If you are not the intended recipient, you are hereby kindly notified that any
use, disclosure, or copying of this communication or any part thereof is strictly prohibited. If you
have received this
communication in error, please delete this communication, including any copies or printouts, and
notify us immediately by return email or at the telephone number above. Brewer, Attorneys and
Counselors asserts in respect of this communication all applicable confidentiality, privilege, and/or
privacy rights to the fullest extent permitted by law. Thank you.




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       EXHIBIT (




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

NATIONAL RIFLE ASSOCIATION OF                  §
AMERICA,                                       §
     PLAINTIFF AND                             §
     COUNTER-DEFENDANT,                        §
AND                                            §
WAYNE LAPIERRE,                                §
    THIRD-PARTY DEFENDANT,                     §
V.                                             § CASE NO. 3:19-CV-2074-G-BK
ACKERMAN MCQUEEN, INC.,                        §
    DEFENDANT AND                              §
    COUNTER-PLAINTIFF,                         §
AND                                            §
MERCURY GROUP, INC. ET AL.,                    §
    DEFENDANTS.                                §

                                            ORDER

       Pursuant to the District Judge’s Order, Doc. 99, the National Rifle Association of

America’s (“NRA”) Motion to Enter Proposed Protective Order for Non-Parties, Doc. 50, is

before the Court for determination. For the reasons stated below, the Court adopts Defendants’

proposed protective order and DENIES the NRA’s motion, Doc. 50.

                                     I. BACKGROUND

       The NRA and its CEO, Wayne LaPierre (“LaPierre”), bring this civil action asserting

claims based on the termination of a long time business relationship between the NRA and

Defendant Ackerman McQueen, Inc. (“Ackerman”), a public relations agency, and Mercury

Group, Inc. (collectively, “AMc”), a wholly-owned subsidiary of Ackerman that specializes in

public communications strategy. Doc. 18 at 1, 6, 9. The NRA also brings claims against three

Ackerman executives (collectively, with AMc, “Defendants”). Doc. 18 at 7.




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       As of the date of this Order, the NRA has initiated three additional lawsuits against

Defendants, which have been consolidated and are pending in Virginia. Doc. 31 at 105 n.40;

Doc. 53 at 2 (the “Virginia lawsuit”). In the Virginia lawsuit, the parties agreed to a protective

order with two tiers of confidentiality. Doc. 56 at 119-20 (permitting parties to designate

discovery as Confidential Information or Highly Confidential Information). In this action, the

parties agree on the need for a protective order, but disagree on its terms. In short, the NRA and

LaPierre propose a protective order with one tier of confidentiality (“Confidential Information”)

while Defendants propose a protective order with two tiers (“Confidential Information” and

“Highly Confidential Information”).

                                    II. APPLICABLE LAW

       A court may issue a protective order, upon a showing of good cause, “to protect a party

or person from annoyance, embarrassment, oppression, or undue burden or expense.” FED. R.

CIV. P. 26(c)(1). When parties to an action agree on the entry of a protective order, but differ on

the order’s terms, the party seeking to limit discovery bears the burden of demonstrating that

“good cause” exists for the level of protection sought. Document Gen. Corp. v. Allscripts, LLC,

Case No. 6:08-CV-479, 2009 WL 1766096, *2 (E.D. Tex. June 23, 2009). “The party

attempting to establish good cause must demonstrate ‘a clearly defined and serious injury to the

party seeking closure.’” Id. (quoting Pansy v. Borough of Stroudsburg, 23 F.3d 772, 786 (3d

Cir. 1994)).

                                 III. PARTIES’ ARGUMENTS

       The NRA’s requested protective order proposes a one-tier level of confidentiality,

granting “non-parties the ability to designate discovery materials confidential, if appropriate.”


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Doc. 50 at 2; Doc. 51 at 270 (defining “Confidential Information” as “things that qualify for

protection under the Federal Rules of Civil Procedure and applicable precedent”). In response,

Defendants propose two tier levels of confidentiality, allowing discovery materials to be

designated Confidential Information1 and Highly Confidential Information. Doc. 51 at 33.

Defendants propose that Highly Confidential Information “may not be disclosed or disseminated

to William A. Brewer, III [“Brewer”] or to personnel within Brewer, Attorneys and Counselors

who are members of the Public Relations Unit of the firm . . . .” Doc. 51 at 43. The Brewer

Firm is the NRA’s counsel as well as a public relations provider. Doc. 51 at 86-87. Defendants

aver that their proposed protective order is substantially identical to the protective ordered

entered in the related Virginia lawsuit, which the NRA itself had proposed. Doc. 53 at 2.

Defendant’s argue that if this Court’s order is less restrictive, “Brewer and his firm will use this

case to circumvent the Virginia protective order to obtain highly confidential, competitive

information to severely prejudice AMc—especially true of customer and financial information.”

Doc. 51 at 5. Meanwhile, the NRA and LaPierre contend that Brewer and AMc are not direct

competitors as their size and services significantly vary. Doc. 61 at 7-10; Doc. 103 at 6. The

Court agrees with Defendants.

                                         IV. ANALYSIS

       Because Defendants’ proposed version of the protective order is more restrictive than the

NRA’s, the burden of establishing good cause for the level of protection sought falls on them.

See Document Gen. Corp., 2009 WL 1766096, *2. The Court has reviewed (1) the NRA’s

proposed protective order, Doc. 51 at 268-86; (2) Defendants’ proposed protective order, Doc.


1
 Defendants’ definition of Confidential Information is identical to the NRA’s definition. Doc.
51 at 33, 270.
                                               3



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51 at 31-48; (3) the protective order the parties agreed to in the Virginia lawsuit, Doc. 56 at 118-

35; and (4) the parties’ briefing. Upon consideration, the undersigned finds that Defendants have

established good cause and demonstrated “a clearly defined and serious injury” to warrant the

additional protection they seek—namely, the inclusion of the Highly Confidential Information

designation. Document Gen. Corp., 2009 WL 1766096, *2.

       The Court finds Defendants’ argument that the NRA is attempting to circumvent the

Virginia protective order highly persuasive. The NRA all but concedes this point in its proposed

protective order, which states “[d]ocuments designated ‘Highly Confidential’ for purposes of the

Virginia Action shall be treated as ‘Confidential’ for purposes of this Action.’” Doc. 51 at 270.

       Even though the NRA and LaPierre insist that Brewer and AMc are not competitors, the

Court notes that Brewer and AMc both provide public relation services. See Doc. 31 at 96

(“Brewer entered the scene offering the NRA legal services while vying for the public relations

work then being handled by AMc.”). In fact, the Parties argued this very issue in the Virginia

lawsuit. Doc. 51 at 79-110 (Tr. of Hr’g on protective order). Upon review of the transcript, this

Court agrees with Judge Dawkins’ conclusion that Brewer and its PR unit should be walled off

from information designated as Highly Confidential Information. Doc. 51 at 110. Indeed, if

Brewer had access to AMc’s Highly Confidential Information—which includes non-public

financial statements, profit and loss data, and sales information relating to specific customers—

then Brewer could use that competitive information to severely prejudice AMc. Doc. 51 at 33.

       Accordingly, Defendants have established good cause and demonstrated “a clearly

defined and serious injury” to warrant the inclusion of the Highly Confidential Information

designation in the parties’ protective order. Document Gen. Corp., 2009 WL 1766096, *2.


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                                      V. CONCLUSION

       For the foregoing reasons, the NRA’s Motion to Enter Proposed Protective Order for

Non-Parties, Doc. 50, is DENIED. The Court adopts Defendants’ proposed protective order,

Doc. 51 at 31-48, which will be issued separately.

       SO ORDERED on June 22, 2020.




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       EXHIBIT )




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                                                                         MANAGERIAL AND DECISION ECONOMICS
                                                                                Manage. Decis. Econ. 23: 157–169 (2002)
                                                                                                  DOI: 10.1002 /mde.1059


      Competitor Identification and Competitor
             Analysis: A Broad-Based
               Managerial Approach
                              Mark Bergena,y and Margaret A. Peteraf b,*
 a
     Carlson School of Management, University of Minnesota, 321 19th Avenue South, Minneapolis, MN 55455, USA
              b
                Tuck School of Business at Dartmouth College, 100 Tuck Hall, Hanover, NH 03755, USA


              Managerial myopia in identifying competitive threats is a well-recognized phenomenon
              (Levitt, 1960; Zajac and Bazerman, 1991). Identifying such threats is particularly
              problematic, since they may arise from substitutability on the supply side as well as on the
              demand side. Managers who focus only on the product market arena in scanning their
              competitive environment may fail to notice threats that are developing due to the resources and
              latent capabilities of indirect or potential competitors. This paper brings together insights
              from the fields of strategic management and marketing to develop a simple but powerful set of
              tools for helping managers overcome this common problem. We present a two-stage
              framework for competitor identification and analysis that brings into consideration a broad
              range of competitors, including potential competitors, substitutors, and indirect competitors.
              Specifically we draw from Peteraf and Bergen’s (2001) framework for competitor
              identification to develop a hierarchy of competitor awareness. That is used, in combination
              with resource equivalence, to generate hypotheses on competitive analysis. This framework not
              only extends the ken of managers, but also facilitates an assessment of the strategic
              opportunities and threats that various competitors represent and allows managers to assess
              their significance in relative terms. Copyright # 2002 John Wiley & Sons, Ltd.



                   INTRODUCTION                                domain in which strategic interactions are likely to
                                                               occur.
 Competitor identification is a key task for                      The purpose of this paper is to provide a set of
 managers interested in scanning their competitive             tractable frameworks for competitor identification
 terrain, shoring up their defenses against likely             and competitor analysis that facilitate broad
 competitive incursions, and planning competitive              environmental scanning. To inform our frame-
 attack and response strategies. It is a necessary             works, we borrow from Peteraf and Bergen’s
 precursor to the task of competitor analysis, and             (2001) framework for competitor analysis. Their
 the starting point for analyzing the dynamics of              work borrows from Chen’s (1996) model of
 competitive strategy (Smith et al., 1992). Before             competitor analysis, adapting his constructs to
 one can assess the relative strengths and weak-               our purposes by drawing on the marketing
 nesses of rivals, or track competitive moves and              literature on consumer behavior (Levitt, 1960;
 countermoves, one must first identify the compe-              Nedungadi, 1990; Peter and Olson, 1993, Mowen
 titive set and develop an accurate sense of the               and Minor, 1995). Specifically, we bring into sharp
                                                               focus the role of customer needs in defining the
                                                               marketplace to show how a greater recognition of
 *Correspondence to: Tuck School of Business at Dartmouth      customer needs can expand awareness of what
 college, 100 Tuck Hall, Hanover, NH 03755, USA.
 E-mail: peteraf@dartmouth.edu                                 lurks on the competitive horizon. This allows us to
 y mbergen@csom.umn.edu                                        address a supply side bias that is often present in

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 other approaches to competitor identification           settings in which industry boundaries are not well
 (Clark and Montgomery, 1999). Moreover, we              defined or are very fluid and changeable. For
 use this to develop a hierarchy of competitor           example, in emerging industries, in turbulent, high
 awareness that is central to our hypotheses on          velocity environments (Eisenhardt and Bourgeois,
 competitor analysis. Further, we introduce the          1989), or in hypercompetitive contexts (D’Aveni,
 concept of resource equivalence to facilitate the       1994), there may be a temptation for managers to
 comparison of the abilities of indirect and             pay attention only to competitors who display a
 potential competitors to meet the same set of           product or technology overlap, because these
 customer needs as direct competitors. This allows       competitors are salient and because the task of
 us to offer a differentiated approach to competitor     broad scanning is difficult. However, it is in these
 analysis.                                               settings that competitive encroachments and in-
    From a theoretical standpoint, our frameworks        cursions across boundaries by indirect and poten-
 contribute to the development of the stream of          tial competitors may prove to be the greatest
 literature in strategic management on competitive       threat.
 dynamics (Smith et al., 1992; Chen et al., 1992;           A variety of approaches have been developed to
 Chen and MacMillan, 1992; Miller and Chen,              address the task of competitor identification that
 1994; Chen and Hambrick, 1995; Ferrier, et al.,         are congruent with market definition. Sophisti-
 1999; Grimm and Smith, 1997) and indeed anchor          cated quantitative approaches to defining markets
 this literature at its logical starting point. From a   include the analyses of cross-price elasticities, of
 practical standpoint, our approach offers a mark-       residual demand curves, of price correlations, and
 edly different perspective on competitor identi-        of trade flows using methods such as the Elzinga–
 fication and analysis, which has important              Hogarty approach (Elzinga and Hogarty, 1978).1
 implications for managers. Moreover, it provides        Scheffman and Spiller (1987) provide an overview
 a mechanism for evaluating competitive threats          of classical quantitative approaches to market
 and opportunities by comparing firms on the basis       definition.
 of their capabilities to meet market needs.                Qualitative methods tend to be more ad hoc and
                                                         are based on the idea that products are in the same
                                                         market if they are close substitutes. Products are
               THE MOTIVATION                            judged to be close substitutes when they are similar
                                                         in terms of their performance characteristics,
 Competitor identification serves as an important        occasions for use, and when they are sold in the
 function in several fields. In industrial organiza-     same geographic market (Besanko et al., 1996).
 tion economics, it is associated with the task of       Qualitative methods derived from economics rest
 defining markets, which is critical for antitrust and   on the notion that a market is defined as a ‘set of
 regulatory policy. In marketing, it supports the        suppliers and demanders whose trading establishes
 analysis of pricing policies, product design, devel-    the price of a good’ (Stigler and Sherwin, 1985).
 opment and positioning, communications strategy,        Cognitive methods, in which managers and /or
 and channels of distribution. In strategic manage-      customers are queried about which products are in
 ment, it provides a foundation for competitor           competition, are more common in the field of
 analysis and the analysis of industry structure,        organization theory, which views markets as social
 conditions of rivalry, and competitive advantage.       constructions (See, for example, Porac and Tho-
    One important objective of competitor identifi-      mas, 1990; Porac et al., 1995; Auty and Easton,
 cation is to increase managerial awareness of           1990).
 competitive threats and opportunities. To max-             Regardless of the analytical approach em-
 imize awareness, it is essential to survey the          ployed, conceptually it is generally accepted that
 competitive landscape broadly in the initial stages     competitor identification requires the simulta-
 of analysis. This can help managers avoid the           neous consideration of both demand side and
 dangers of a myopic approach to competitive             supply side attributes of putative competitors and
 strategy and will minimize the chance of being          their domain (Abell, 1980; Day, 1981; Porac and
 blindsided. It can reduce a firm’s vulnerability to     Thomas, 1990; Scherer and Ross, 1990; Chen,
 competitive blindspots (Zajac and Bazerman,             1996). Demand side considerations ensure that
 1991), which are particularly troublesome in            products are substitutable in the eyes of consu-

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 mers. They include an analysis of the degree           cerned with identifying only close competitors.
 to which products fulfill similar functions and        This can be limiting, particularly in the contexts of
 address similar needs. Supply side considerations      rapid innovation and of cooperation among
 address the degree to which firms are similar in       multimarket firms (Hruska, 1992). Our framework
 term of technological and production capabilities.     goes well beyond this, since one of its purposes is
    In practice, however, commonly employed             to maximize managerial awareness of competitive
 approaches to competitor identification display        opportunities and threats. We define competitors
 biases toward one side or another. For example, in     far more broadly to include not only close
 industrial organization economics-based ap-            competitors but more distant competitors in the
 proaches, SIC codes (recently replaced by              form of less obvious substitutors and potential
 NAICS), have been employed often to delineate          competitors as well. In this way, we answer the call
 market boundaries, resulting in a supply side bias     of Smith et al. (1992) and Chen (1996) for a
 (Curran and Goodfellow, 1990). These codes are         framework on competitive dynamics that includes
 determined on the basis of technological as well as    potential competitors.
 product commonalties, which are essentially sup-          Moreover, in contrast to most other methods,
 ply side factors only. Recent experimental evidence    our approach brings a clear consideration of
 suggests that cognitive views of markets, cham-        customer needs into the analysis with respect to
 pioned by Porac and Thomas (1990) as a basis for       both demand and supply side issues.2 As described
 competitor identification, are subject to supply       in the next section, we provide a two-stage
 side biases as well (Clark and Montgomery, 1999).      framework for competitor identification and ana-
    The problem of bias in market definition is not a   lysis. In stage 1, we explore how Peteraf and
 trivial one. Awareness is key to organizational        Bergen’s (2001) framework can be used to develop
 action and is a principle driver of competitive        a hierarchy of competitor awareness that can be
 attack and response (Chen, 1996). If the approach      used to link competitor identification with compe-
 to market definition is too narrow in scope, then      titor analysis. This approach addresses the poten-
 managers may be unaware of activity with               tial supply side bias that often diminishes the
 competitive relevance and may find themselves          effectiveness of other qualitative approaches (Cur-
 blindsided by a surprise attack. Further, they may     ran and Goodfellow, 1990; Clark and Montgom-
 be unable to identify attractive market opportu-       ery, 1999). In the second stage, we provide a
 nities because a narrow view of the market blinds      framework for competitor analysis that evaluates
 them to alternative venues in which their capabil-     and compares the competitors identified in stage 1
 ities may be employed to advantage.                    according to their capabilities for meeting custo-
    Consider, for example, the irony of the battle      mer needs. We argue that the theoretical content,
 that took place in the 1970s between Polaroid and      the practical relevance, and the accessibility of our
 Kodak over the instant camera market (Porter,          framework make it particularly valuable for
 1983). These two formidable rivals were drawn          practitioners as well as for educators and scholars.
 into a series of enormously costly price wars and
 legal battles with one another. While they were so
 engaged, their markets were being eroded by the
 arrival of 1-h photo shops, camcorders, and                    A TWO-STAGE FRAMEWORK
 camera systems that did not require film. Their
 focus on one another as rivals may have prevented      We develop our model in two stages for the
 them from seeing the larger picture. And the           following reasons. Firstly, there are two separate
 opportunity cost of their private battle may have      tasks to be performed: competitor identification
 been the chance to prepare for the greater             and competitor analysis. While managers should
 competitive challenge that lay on their horizon.       take a broad approach to competitor identification
    Few practical tools have been developed to          to avoid competitive blindspots, they may want to
 assist managers with the task of identifying and       hone in on groups of identified competitors
 analyzing competitors that span traditional pro-       separately in performing competitive analysis.
 duct market boundaries. Other approaches to            Secondly, these two tasks require two separate
 competitor identification are congruent with the       functions. Competitor identification is essentially a
 task of market definition because they are con-        categorization task (Rosch, 1978) that involves

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 classifying firms on the basis of relevant simila-                      the framework presented in Figure 1. [see Peteraf
 rities. In contrast, competitor analysis is an                          and Bergen (2001) for the original developments
 evaluative task that goes beyond mere classifica-                       and a more detailed discussion of this framework
 tion to compare rivals on the basis of relevant                         for competitor identification.] We borrow from
 dimensions.                                                             Chen’s (1996) highly acclaimed paper, but adapt
    Thus, in the first stage, we draw from Peteraf                       his constructs of market commonality and re-
 and Bergen (2001) to take a broad-based approach                        source similarity to serve our different purposes.
 to competitor identification, classifying candidate                     Specifically, under the category of market com-
 competitors on the basis of similarities in terms of                    monality, we sort competitors based on the degree
 their resource endowments and the market needs                          to which they address similar customer needs,
 served. We do so by asking the simple question of                       while under the category of resource similarity, we
 whether two firms serve the same customer need                          sort competitors based on the degree to which
 presently or have the ability to do so in the near                      their resource endowment is similar in terms of
 future. The aim of this stage of analysis is to help                    type or composition.
 managers to maximize their awareness of compe-                             Chen (1996, p.106) defines market commonality
 titive threats and to classify the types of competi-                    as ‘the degree of presence that a competitor
 tion that they face so that we may develop a                            manifests in the markets it overlaps with the focal
 hierarchy of competitor awareness that may be                           firm’, a definition that serves as an indicator of a
 linked to competitor analysis.                                          firm’s ‘direct or primary competitors’ and their
    In the second stage, we take an evaluative                           behavior (Chen, 1996 p.102). We broaden the
 approach and ask the question of how well two                           definition to take the perspective that firms
 firms serve the same need or how their capabilities                     compete with one another to the extent that they
 compare. We relate that to our framework for                            satisfy the same customer needs. Accordingly, we
 competitor identification to develop a hierarchy of                     redefine market commonalty as the degree to which
 competitor awareness. We also introduce the notion                      a given competitor overlaps with the focal firm in
 of resource equivalence to help managers assess the                     terms of customer needs served. This approach is
 strengths and weaknesses of their competition in                        consistent with the marketing literature (Levitt,
 terms of comparative capabilities. This takes our                       1960; Cooper and Inoue, 1996) and recognizes that
 framework into the realm of competitor analysis                         competitors may include firms that do not share
 and allows us to develop a series of propositions                       the same technological platform. It is consistent as
 regarding the likelihood of attack and response                         well with the type of approach to market or niche
 from different types of competitors.                                    overlap utilized in the population ecology litera-
                                                                         ture (McPherson, 1983; Baum and Singh, 1994;
                                                                         Baum and Korn, 1996).3
        Stage 1: Recognizing and Classifying the
                                                                            Notice how the incorporation of customer needs
                     Competition
                                                                         changes awareness through a change in the
 To identify and classify the competitive set, we                        assessment of the competitive structure. For
 draw from Peteraf and Bergen (2001) to propose                          instance, in analyzing the airline industry, a
                                                                         customer-needs-based analysis would suggest that
                                                                         the fundamental enduring need is for convenient
                                                                         transportation. In short, haul airline markets,
                                                                         there are a number of viable alternatives for
                      Indirect Competitors                               consumers, including rail, automobile, bus, and
                                                  Direct Competitors
       Commonality




                         (Substitutes)                                   limousine services. Similarly, Southwest Airlines’
         Market




                                                                         entry into the Northeast corridor through Islip
                                                                         posed a significant competitive threat to Amtrak.
                                              Potential
                                                                         Our needs-based definition encourages managers
                                             Competitors                 to look beyond restrictive product market bound-
                                                                         aries to assess competitive threats more broadly. It
                                                                         captures the extent to which direct and indirect
                           Resource Similarity
                                                                         competitors, such as substitutors, are in competi-
               Figure 1. Mapping the competitive terrain.                tion to serve the same needs.

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    Chen (1996, p.107) defines resource similarity as    businesses presently serve different needs, either
 ‘the extent to which a given competitor possesses       could choose to branch out and enter the others’
 strategic endowments comparable, in terms of            market since they already have most of the
 both type and amount, to those of the focal firm’.      resources required to do so.
 We modify this definition slightly. Because we             Firms that occupy the southwest corner of the
 merely categorize firms by type of competitor in        grid score low on both dimensions. They are
 stage 1, reserving comparisons regarding relative       entirely outside the competitive set at present,
 competitive capabilities for stage 2 analysis, we do    although this could change over time as firms
 not consider resource amounts. We regard the            change their positions. Of greater interest is the set
 amount of resources as one of the many dimen-           of firms in the northwest corner. These firms are
 sions on which a firm may claim resource super-         serving the same market needs as the focal firm but
 iority relative to other firms. For our purposes, we    with different types of resources. They comprise
 redefine resource similarity as the extent to which a   the set of indirect competitors, such as substitutors.
 given competitor possesses strategic endowments            Substitutors are an important, but often invi-
 comparable, in terms of type, to those of the focal     sible, class of competitors since they frequently
 firm.                                                   utilize new technologies, whose costs are likely to
    We utilize these two constructs of market            decline due to the learning curve. For example,
 commonality and resource similarity to categorize       cameras may be used to take pictures with film-
 the competitive field from the point of view of a       based technologies that depend on capabilities in
 focal firm. Thus we employ dyadic comparisons           chemistry and mechanics. Alternatively, digital
 between that firm and candidate rivals. By              pictures may be produced using electronics cap-
 displaying resource equivalence as an increasing        abilities. The underlying consumer need (to record
 function on the x-axis and market commonality as        events pictorially) is served equally well by
 an increasing function on the y-axis, we can map        completely different technologies, as a result of
 the competitive field of a focal firm by locating       which Sony and Kodak now compete (Friedman,
 candidate rivals on the grid.                           1999).
    A firm that scores high in terms of both market         While this mapping exercise is fairly straightfor-
 commonality and resource similarity is one that         ward, our customer needs perspective introduces
 serves the same market needs with the same types        an important subtlety into the analysis that
 of resources as the focal firm. Firms such as these     managers might otherwise overlook. Consider
 will be found in the northeast corner of the grid.      again the set of direct competitors. When con-
 These are the focal firm’s direct competitors, as for   sumers acquire information about available alter-
 example AMD is for Intel (both producers of             natives to fulfill a need, they generate an
 microprocessors and suppliers to computer man-          ‘awareness set’ that is subsequently honed down
 ufacturers).                                            to make the choice problem easier (Peter and
    Firms with resource endowments similar to the        Olson, 1993). This reduced set, known in the field
 focal firm that do not presently serve the same         of marketing as the ‘consideration set’, is the set of
 customer needs will be found in the southeast           options from which the eventual choice generally
 corner of the grid. These are the set of potential      emerges. To the extent that more than one
 entrants into the markets of the focal firm. For        alternative is actively considered in the con-
 example, a caterer and a local restaurant may both      sideration set, those alternatives are the most
 compete on the basis of their reputations for good      significant competitors. In other words, the direct
 food and service, and similarly employ chefs,           competitors identified by the mapping exercise
 kitchen equipment, and the like. Although their         may not all be immediate competitive threats,
 resource similarity is high, they may nevertheless      because only a subset of them may be in
 cater to demonstrably different customer needs.         consumers’ consideration sets. This suggests that
 Corporate customers need caterers to prepare,           the needs perspective can be used both broadly
 deliver, and serve party foods and dinners for large    and more narrowly to generate a deep under-
 functions held at the client’s site; individuals        standing of the variations and ambiguities in the
 patronize restaurants in small groups for a             competitive landscape.
 pleasurable dining experience away from home               There is an important strategic implication of
 or for small-scale take-out service. While these two    this line of thinking. Consideration sets do not

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 exist in a vacuum. In fact, firms frequently attempt            Stage 2: Evaluating the Competition and
 to influence the composition of the consideration                          Predicting Rivalry
 set through a multitude of devices including
                                                            To facilitate evaluating the competition and
 comparative advertising, sales presentations, and
                                                            making predictions regarding the likelihood of
 shelf placements. Industry leaders attempt to
                                                            attack and response, we introduce the construct of
 assure that they are the sole members of the
                                                            resource equivalence. We define resource equiva-
 consideration set, and therefore rarely engage in
                                                            lence as the extent to which a given competitor
 comparative advertising that identifies a compe-
                                                            possesses strategic endowments capable of satisfying
 titor. Conversely, firms that have weaker market           the same customer needs as the focal firm. Although
 positions attempt to develop psychological asso-
                                                            this is a continuous measure like the notion of
 ciations with industry leaders through compara-
                                                            resource similarity, we can conceive of it in terms
 tive ads that specifically identify the principal
                                                            of high and low degrees. If two firms have high
 competitor. Such associations allow weak firms to
                                                            resource equivalence, they come close to being
 inveigle their way into customers’ consideration
                                                            equally capable of satisfying the same customer
 sets.
                                                            needs. Equal capability implies that they do or can
    This framework, then, is useful not only for
                                                            address the same market needs equally well. For
 increasing awareness of the various dimensions of          example, among supermarket chains, Kroger and
 the competitive landscape, but it can assist man-
                                                            Albertsons score high in terms of resource
 agers with attempts to influence the composition of
                                                            equivalence, and represent relatively balanced
 the landscape as well. It is useful for identifying
                                                            competitors nationwide, with approximately 1900
 opportunities for collaborative and cooperative
                                                            stores apiece in 1999.5
 activities, such as joint advertising to increase             We utilize this construct to conduct competitor
 industry demand, in addition to identifying and            analysis by assessing the strength of various types
 monitoring threats. Additionally, there are other          of competitors relative to a focal firm, as we
 practical implications of this framework. It can be        illustrate in Figure 2.
 used to view competition dynamically and to                   On the horizontal axis, we sort firms according
 track potential competitors’ movements over time.          to whether they have high-or low-resource equiva-
 It serves to remind managers to track not only             lence relative to the focal firm. On the vertical axis,
 rivals’ conduct in product markets, but their              we sort firms according to the three basic
 activities in factor markets as well. Activity in the      competitive categories identified in the first stage
 resource market may provide a forewarning of               of the analysis: direct competitors, potential
 impending competitive action in the product                competitors, and indirect competitors.
 market.                                                       Note that there is relative balance in terms of
    The limitation to this part of the framework is         competitive strength between the focal firm and its
 that while it is useful for surveying the competitive      competitors on the right-hand side of matrix. For
 terrain and classifying competitors, it cannot be          example, if the lower right-hand side of the matrix
 used to order the terrain and rank competitive
 threats and opportunities. That is to say, it cannot
 be used to ascertain which competitors present the
 strongest threat to a focal firm and which are the            Indirect   e.g. Peapod vs. Albertsons       e.g. Wal-Mart vs.
 most vulnerable to competitive attack. For this, we        Competitors                                        Albertsons

 need additional information. Specifically, we need
 to be able to evaluate the differences in resource           Potential   e.g. Canadian Safeway vs.           (e.g. none)
 type, in terms of their abilities to satisfy a given set   Competitors           Albertsons
 of market needs.4 Knowing that the capa-
 bilities of two players differ is useful for simple
 classification purposes. But in order to predict               Direct     e.g. Lunds/Byerly's vs.     e.g. Kroger vs. Albertsons
 which is the stronger competitor, we need to               Competitors          Albertsons

 know how their capabilities differ and which set is
                                                                                    Low                          High
 better suited to the market needs being served. We
                                                                                          Resource Equivalence
 turn to these issues in the second stage of our
 analysis.                                                        Figure 2. A framework for competitor analysis.

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 contains Kroger (in relation to Albertsons), the        competitors provides empirical support for these
 upper right cell might contain Wal-Mart’s Super-        claims.
 centers, which presently are only a third of the size      Potential competitors have similar resources as
 of the traditional supermarket chains (with lower       the focal firm but serve different market needs.
 scale and scope economies), but have superior           Indirect competitors represent the reverse situa-
 capabilities in terms of information technology         tion. Because of the supply side bias that we
 and logistics (see Note 5). It is a balanced package    discussed in the previous section, managers pay
 such that their set of capabilities, taken              greater attention to firms with similar technologies
 as a whole at this point in time, can meet customer     and resources when scanning their competitive
 needs about as well as the capabilities of Albert-      environment than they do to firms that are outside
 sons. The middle cell on the right might contain        traditional product market boundaries. For these
 the large Canadian chain, Loblaw, that presently        reasons, we suggest the following:
 serves other geographic needs but with similar and
                                                         Premise 2:
 equivalent capabilities.
                                                         The awareness between a focal firm and its rivals
    On the left-hand side of the matrix, there is
                                                         decreases, Ceteris paribus, as we move from the
 imbalance with respect to capabilities, implying
                                                         class of direct competitors, to potential competi-
 that one rival is stronger than the other. For
                                                         tors, to indirect competitors.
 example, a small chain such as Lunds/Byerly’s
 with its 19 stores would occupy the lower left cell,       Our analysis of the degree of rivalry in various
 while middle-sized Canada Safeway might occupy          segments of the competitive domain depends on an
 the middle cell, and a small but growing Internet       assessment of the two factors of balance and
 provider, such as Peapod, may be found in the           awareness. An understanding of the level of
 upper left cell (see Note 5). At present, none of       awareness between competitors is essential since
 these competitors is a match for the superior           awareness is one of the three fundamental drivers
 capabilities of Albertsons to meet customer needs,      of competitive behavior, which also include
 although that could change over time. Note, more        motivation and capability.6 As Chen (1996) makes
 generally, that whereas this matrix is indicative of    clear, organizational action depends critically
 competitive imbalance, it does not reveal the           upon these three drivers. An understanding of
 directionality of the imbalance. Individual compe-      the degree of competitive balance is important
 titors occupying the left-hand side could be            because it affects both capability, which is a
 stronger or weaker than the focal firm.                 relative phenomenon, and motivation, which
    We capture the relationship between competi-         depends in part upon the probability of success.
 tive balance and resource equivalence with the          For example, when there is balance, then the
 following premise:                                      capability of one party to dominate in a compe-
                                                         titive battle is low relative to the situation when
 Premise 1:
                                                         there is imbalance. In this situation, there is a
 As resource equivalence increases between a focal
                                                         tendency toward what is known in the literature on
 firm and a rival, the degree of competitive balance
                                                         multi-market competition as ‘mutual forbearance’
 increases as well, Ceteris paribus.
                                                         (Gimeno and Woo, 1996,1999; Baum and Korn,
    While balance is the indicator that increases        1996, 1999; McGrath et al., 1998). Balance also
 from left to right on this diagram, it is awareness     affects the motivation of competitors in that
 that increases as we move from the bottom to the        motivation is affected, in part, by the likelihood
 top. The reason for this is simple. Direct compe-       of success. If the level of balance is high, for
 titors have the most in common with the focal           example, then the probability of successfully
 firm, since there is similarity in terms of both        defeating one’s rival is low relative to an imbal-
 customer needs met and resource type. (This of          anced situation in which one holds the advantage.
 course holds the level of resource equivalence             We use these premises to derive a series of
 constant.) They are uppermost in the minds of           logical propositions regarding the likelihood of
 managers because of the salience of these types of      attack and response from various competitive
 similarities. The work by Reger and Huff                quarters. The most general of these follow from
 (1993), and Lant and Baum (1995), Porac and             the effect of balance on rivalry. Balance in-
 Baden-Fuller (1989) on how managers perceive            hibits the initiation of competitive action, since

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 competitors have more to gain from forbearance              Along the two sides of the matrix, the properties
 than from competitive engagement. That is, the           of awareness and balance interact in interesting
 initiator’s probability of success is lower and its      ways to yield further predictions regarding the
 probability of defeat is higher in a balanced            likelihood of attack and response. Note first that
 situation. In addition, balance often encourages         although the likelihood of attack is generally
 cooperative actions that may provide a win–win           lowest on the right-hand side of the diagram, it
 solution for the parties involved (Brandenburger         increases as we move from the bottom to the top
 and Nalebuff, 1996). When there is imbalance in          cell. The reason for this is that as awareness of
 terms of capabilities, advantaged rivals are moti-       rivals decreases, the awareness of the balance
 vated to capitalize on their situation, striking from    decreases as well. Notice that it is more difficult to
 strength against weakness, or using a judo strategy      perceive resource equivalence when the capabilities
 to turn an opponent’s strength into a liability          differ by type and by composition, as in the Wal-
 (Gelman and Salop, 1983; Yoffee and Cusumano,            Mart versus Albertsons example that we have
 1999). In summary, when the level of balance is          already given. Thus, balance is less of a
 high, the level of motivation for competitive attack     limiting factor in the uppermost cells on rivalry
 is low. Because of the corresponding relationship        and opportunities for mutual understanding
 between balance and resource equivalence, we             diminish due to the greater heterogeneity. More-
 propose the following:                                   over, an aware rival may take advantage
                                                          of the fact that on average, his competitive target
 Proposition 1:                                           is likely to be relatively unaware of competitive
 As the resource equivalence between two firms            actions coming from an indirect competitor. This
 increases, the likelihood of attack is reduced,          increases the probability of a successful assault
 Ceteris paribus.                                         and thus the motivation for action. In sum, we
                                                          propose:
    Because there is greater balance on the right-
 hand side of the figure, the likelihood of response      Proposition 3:
 to attack is also greater on the right-hand side. The    When the degree of resource equivalence is high,
 reason for this is that the capability of effective      the likelihood of attack increases as we move from
 response is much higher when resource equiva-            the class of direct competitors, to potential
 lence is high and the motivation is higher as well       competitors, to indirect competitors.
 due to the higher probability of success. This, of
 course, assumes that other things that affect               The likelihood of response runs in the opposite
 motivation, such as the gains from engaging in           order on the left-hand side. That is, balanced
 competitive action, are equal across conditions.         direct competitors are the most likely to respond
 Notice, parenthetically, that this high likelihood of    to an attack, while indirect competitors are the
 a response to an attack is one of the things that        least likely to respond. When there is balance in
 motivate forbearance from attack in the first place.     terms of resource equivalence, the capability for
 This reasoning leads us to our next proposition:         effective response is high. Because the motivation
                                                          for action is dependent on an assessment of the
 Proposition 2:                                           likelihood of success, the motivation for response
 As the resource equivalence between two firms            is high as well, other things equal (such as what is
 increases, the likelihood of response to a compe-        at stake). Even though there may be equivalent
 titive attack increases, Ceteris paribus.                capabilities among indirect competitors, they are
                                                          less likely to be perceived as equivalent. Moreover,
    This proposition reinforces our third proposi-        rivals are likely to be less aware that indirect
 tion, that rivalry is reduced among resource             competitors are indeed competitors, and this
 equivalent competitors. The reason for this argu-        reduced awareness should be accompanied by a
 ment is that firms will be even less likely to upset     reduction in responsiveness.
 the competitive balance and attack if they know
 that their equally capable rival is likely to respond.   Proposition 4:
 They are better off accepting an uneasy truce than       When the degree of resource equivalence is high,
 risking a costly and damaging competitive battle.        the likelihood of response decreases as we move

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 from the class of direct competitors, to potential       from the class of direct competitors, to potential
 competitors, to indirect competitors.                    competitors, to indirect competitors.

    The action and response expectations on the           We now turn to a discussion of the uses of our
 left-hand side of the matrix are just the reverse of     framework and its limitations in the section
 those on the right. Thus, the likelihood of attack is    below.
 greatest when imbalanced rivals compete directly
 and lowest when imbalanced rivals compete
 indirectly. The reason for this is that the awareness
 of a rivalrous opportunity will be greater among                           DISCUSSION
 direct competitors than among potential competi-
                                                                             Implications
 tors or indirect competitors. The propensity of
 managers to view rivals in terms of similar              Our frameworks can be helpful to strategists in a
 products along traditional market boundary lines         variety of ways. First, the stage 1 framework can
 means that they will choose opportunities to             be used in isolation as an aid to overcoming a
 compete first in those venues. In addition, they         natural tendency toward over weighting supply
 may feel that they know better how to compete            side factors in surveying the competitive environ-
 effectively within traditional market boundaries         ment and ignoring competition from beyond
 than across them. By remaining within these              traditional product market boundaries. Second, it
 boundaries, they can utilize available organiza-         can be used to chart the movement of competitors
 tional routines for competing locally and have a         to new positions along the grid. Thus, it can
 repository of knowledge regarding likely reactions       provide a more dynamic outlook of how the
 and outcomes that are most applicable for such           competitive situation is changing. Third, it can be
 actions (Nelson and Winter, 1982). In sum:               used to look for new opportunities for competitive
                                                          dominance. It can also be used to search for
 Proposition 5:                                           cooperative opportunities. Fourth, it can be used
 When the degree of resource equivalence is low,          to design a strategy to influence customer needs, as
 the likelihood of attack decreases as we move from       well as their awareness sets and considerations
 the class of direct competitors, to potential            sets. Thus, it can be used to change the competitive
 competitors, to indirect competitors.                    landscape on a variety of dimensions.
                                                             Stage 2 of the analysis has significant implica-
    Here the outcome is opposite for the likelihood       tions for managers as well. Not only do we believe
 of response. To understand this, one must first          that our propositions have predictive power
 appreciate that when there is imbalance among            regarding the likelihood of attack and response,
 rivals, the likelihood of effective response is small.   but in addition, they can be used to order the
 This reduces the likelihood of response since both       competitive field in terms of threats and opportu-
 capability and motivation will be low, other things      nities. For example, on the right-hand side of the
 equal. What drives a lower response rate among           matrix, it is clear that the degree of competitive
 indirect competitors relative to direct competitors      threat increases from bottom to top if we view the
 on this side of the matrix is the lower awareness of     competitive field dynamically. That is, over time
 the imbalance and its implications. That is, while       the indirect competitors among those competitors
 indirect competitors are unlikely to see each other      with equivalent resources pose the greatest threats
 as rivals a priori, when attacked they are more          to a focal firm. This is consistent with Chen’s
 likely to respond simply because the perception of       prediction that the greatest competitive threat
 imbalance is lower. They are more likely to believe      comes from rivals with low market commonality
 that they have a chance of effective response,           and high resource similarity. Applying this to our
 Ceteris paribus. This leads to the following             stage 1 framework suggests that potential compe-
 prediction:                                              titors (with low market commonality and high
                                                          resource similarity) may ultimately be more
 Proposition 6:                                           threatening than direct competitors (with high
 When the degree of resource equivalence is low,          market commonality and high resource similarity),
 the likelihood of response increases as we move          which accords with our predictions.

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    Because stage 2 matrix indicates competitive          take steps to enhance awareness of their presence,
 imbalance, but does not show whether it is the           so that rivals will recognize the futility of their
 rival or the focal firm that benefits from the           position and refrain from response. If the focal
 imbalance, the left-hand side of the matrix reveals      firm is in the weaker position, its managers should
 information about both opportunities and threats.        seek to diminish awareness of this imbalance, so as
 If the focal firm is the holder of resources that are    not to invite an attack, or try to commit credibly
 less capable of meeting market needs than its rival,     to staying weak. They might also consider signal-
 then its greatest threat (over time) will be found       ing that they believe that their capabilities are
 among its direct competitors, since the propensity       stronger than they are or that they will respond
 for attack is strongest and the propensity for           irrationally to an attack, in order to diminish
 response is weakest. If the focal firm is the            attack probabilities. Finally, just as managers can
 advantaged party, then this cell presents its great-     use the stage 1 competitive terrain map to track
 est opportunities for successful competitive en-         competitive movements, so can they use stage 2
 gagement. More generally, the matrix reveals             matrix to chart changes in resource equivalence
 opportunities for cooperation, along the right-          and corresponding capabilities. They can use this
 hand side and suggests that a firm seek competitive      information to prepare defenses against competi-
 opportunities and threats along the left-hand side.      tive incursions and to strengthen their position vis-
 Note that if the focal firm is less capable of           a-vis rivals. For example, grocery chains such as
 meeting market needs than stronger rivals, its           Albertsons and Kroger have begun to consolidate
 greatest competitive threat will come from the           to improve their capability to meet market needs
 direct competitors in the lower left cell. These will    efficiently as they have noticed Wal-Mart gaining
 comprise the competitive set that pose the most          strength with their hypermarkets and supercenters.
 danger since the focal firm will be least able to
 respond effectively.7 Further, it is in this cell that
                                                                              Limitations
 there is the least opportunity for cooperation.
 Cooperative opportunities are greatest on the            One limitation of our model is that, in contrast to
 right-hand side of the matrix. In addition, it is        Chen’s (1996) model, it does not account for the
 possible that relative capability among rivals is        relative importance of various market segments to
 even more important in predicting rivalrous              the industry participants. Thus some market
 interactions than the awareness factor. While it         segments may be of greater strategic value to firms
 may not be a more significant determinant in its         than others and may be worth fighting for more
 own right, its effect is magnified since it affects      than others. This affects rivalry through its effect
 motivation as well through its effect on the             on motivation. We have assumed this effect to be
 likelihood of success.                                   constant throughout our analysis. Managers
    There are other managerial implications as well.      should be aware of this limitation and should
 Since the competitive threat is relatively high from     factor in the relative importance of various market
 indirect competitors with resource equivalence,          segments to their own firms and to rivals in
 managers should actively seek opportunities to           making judgments regarding likely competitive
 find stable win–win solutions. An example of this        reactions. In addition, managers should consider
 is the recent set of agreements reached between          the growth rate of various market segments, since
 Microsoft and Apple. Since the primary driver of         that will define the attractiveness of the turf under
 increased likelihood of attack on this side of the       contention and will affect the level of rivalry
 matrix is reduced awareness of the competitive           (Porter, 1980).
 balance, managers should actively seek to educate           Another limitation is that the model does not
 their rivals regarding their resource equivalence.       take into account the notion that some resources
 They should also seek to signal both their               represent more potent competitive weapons than
 capability of an effective response to any attack        others and may also make rivals more immune to
 and their willingness to respond in order to             competitive attack. Our model addresses the
 diminish further the probability of attack from          questions of which firms are alike and which are
 all types of resource equivalent competitors.            superior, but not which are assailable. To an
    When resources are not equivalent and the focal       extent, these factors are built into our assumptions
 firm is in the superior position, managers should        regarding the meaning of resource equivalence, but

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 the underlying micro-level analysis is beyond the        thinking in this research stream, facilitating seam-
 scope of this paper. By incorporating additional         less integration across the analytic tasks and
 information regarding what drives competitive            contributing to a more complete overall model of
 advantage from models such as the resource based         competitive dynamics. Second, we focus attention
 view of the firm (Barney, 1991; Amit and Schoe-          on the role of the customer in defining competitors
 maker, 1993; Peteraf, 1993), it is conceivable that      and show how a greater consideration of customer
 the power of this model could be increased. This         needs can expand managerial awareness of what
 may be a fruitful avenue for future research.            lurks on the competitive horizon. Third, we
    The model is limited as well, in that it ignores      introduce the notion of resource equivalence as a
 the competition that can come from suppliers and         tool for evaluating competitors. This is a powerful
 customers, as Porter’s (1980) five-forces model          construct that directs attention to competitive
 suggests. Neither does it take into account other        dimensions that matter at a fundamental level.
 forms of competition within a firm’s ‘value net’         Fourth, we use our hierarchy of competitor
 (Brandenburger and Nalebuff, 1996). Moreover,            awareness and resource equivalence to generate
 while the model has the capability to consider the       hypotheses on competitive analysis.
 role of complementors, we do not explicitly discuss         The paper’s contributions are not limited,
 this issue. Since complementors play a cooperative       however, to the world of academia. The frame-
 role more often than a competitive role, including       works and propositions in this paper also have
 them in stage 2 analysis may be misleading.              strong implications for managers and for strate-
    In addition, while the model can be used to an        gists. The paper provides a set of tools for
 extent to track competitive movement, it lacks the       scanning the competitive horizon that can help
 richness of a truly dynamic model. It ignores            managers to lessen the probability of their being
 factors of timing, such as the length of response        blindsided by a competitive attack. These tools can
 delay, subsuming these issues instead into the           help managers take a more dynamic view of
 ‘likelihood’ of response. Additional insight from        competition and think more strategically about
 the model might be possible if one built some            competitive challenges that lie ahead. With a
 consideration of the relative adjustment costs that      greater appreciation of the competitive dynamics
 various rivals face in altering their capability sets.   of the broad environment in which they operate,
 See, for example, the Dierickx and Cools’ (1989)         they may become more proactive in responding to
 discussion of capabilities and time compression          these challenges. They can also help managers to
 diseconomies. See also the Grimm and Smith’s             anticipate new opportunities that others might not
 (1997) discussion of response delays and other           see so readily, thus enabling them to move more
 timing issues.                                           quickly and take advantage of them as they arise.
    Finally, it is possible that the model’s predictive   Finally, the tools for competitor analysis provided
 power could be increased if it accommodated in           in this paper can also help managers to gain a
 explicit fashion an understanding of how the             deeper appreciation of what drives attack and
 capabilities of rivals create value in terms of          response behavior. This will enable them to
 increasing perceived customer benefits and low-          anticipate their rival’s moves more accurately
 ering costs. By delving more deeply into these           and to respond more rationally. As managers
 aspects, one could predict even more cleanly where       learn to navigate their competitive terrain with
 a firm’s best opportunities and greatest threats lie.    greater competency, they should see improvements
 We reserve these possibilities for future work.          in both the competitive position and performance
                                                          of their firms, relative to more shortsighted
                                                          rivals.

            CONCLUDING REMARKS                                                Acknowledgements
                                                          The authors thank Ming-Jer Chen, Wally Ferrier, Paul
 This paper makes its contribution to scholarship         Wolfson, Luohua Zhou, and Zeev Rotem for helpful discus-
 on four broad fronts. First, we extend the               sions. We are grateful to Sourav Ray for his research assistance.
 competitive dynamics literature to include the task      In addition, we thank Orv Walker and his marketing strategy
                                                          seminar participants at the University of Minnesota, as well as
 of competitor identification. We do so in a way          one anonymous reviewer. Special thanks to Akshay Rao for his
 that is consistent with and complementary to the         fundamental contributions to this paper.

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    customer needs as a basis for both identifying            Chen M.-J, MacMillan IC. 1992. Nonresponse and
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 3. The organizational niche overlap concept is in turn         competitor dependence and action irreversibility.
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